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15
                                   UNITED STATES DISTRICT COURT
16                               NORTHERN DISTRICT OF CALIFORNIA

17                                            OAKLAND DIVISION

18
     ROBIN BERMAN, et al.,                               Case No. 4:17-CV-01864-HSG
19
               Plaintiffs,
20        v.
21   MICROCHIP TECHNOLOGY
     INCORPORATED, et al.,
22                  Defendants.
23   PETER SCHUMAN, et al.,                              Case No. 4:16-CV-05544-HSG
               Plaintiffs,
24                                                       STIPULATED REQUEST AND [PROPOSED]
          v.
                                                         ORDER RE: SUMMARY JUDGMENT
25   MICROCHIP TECHNOLOGY                                MOTIONS AND CASE SCHEDULES
     INCORPORATED, et al.,
26
               Defendants.                               Judge:              Hon. Haywood S. Gilliam, Jr.
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 1           WHEREAS, the parties filed a joint status conference statement on April 9, 2021 in these

 2   related cases, Berman et al v. Microchip Technology Inc., No. 4:17-cv-01864-HSG (Berman), and

 3   Schuman et al v. Microchip Technology, Inc., No. 4:16-cv-05544-HSG (Schuman), which addressed

 4   how to move these cases forward efficiently following the Ninth Circuit’s memorandum disposition

 5   in Berman (Berman Dkt. 137; Schuman Dkt. 154);

 6           WHEREAS, the Court on April 14, 2021 terminated the parties’ then pending cross-motions

 7   for summary judgment in Schuman (Schuman Dkt. 156), pursuant to agreement of the parties;

 8           WHEREAS, the Amended Scheduling Order in Berman and Schuman set a dispositive motion

 9   hearing deadline of January 13, 2022 (Berman Dkt. 140; Schuman Dkt. 157);

10           WHEREAS, the parties filed and briefed cross-motions for partial summary judgment in

11   Berman in the fall of 2021, which the Court took under submission on October 6, 2021 (Dkts. 145,

12   163, 165, 166, 168);

13           WHEREAS, Defendants contend that they interpreted the Court’s standing order on successive

14   summary judgment motions as applying only to motions addressing the same claim, and that before

15   the Ninth Circuit appeal and remand, Plaintiffs had previously filed, and the Court entertained, two

16   motions for partial summary judgment in Berman addressing different claims.1 Accordingly, on

17   December 9, 2021, 35 days before the dispositive motion hearing deadline per Civil Local Rule 7-

18   2(a), Defendants in Berman filed a Motion for Partial Summary Judgment on Plaintiffs’ First Cause

19   of Action – For Equitable Relief (Dkt. 171), as to which Defendants contend they had not previously

20   moved for summary judgment, and Defendants in Schuman filed a Motion for Summary Judgment

21   (Dkt. 163), noticing both motions for hearing on January 13, 2022;

22           WHEREAS, on December 10, 2021, Plaintiffs in Berman filed an Administrative Motion to

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24       1
           Plaintiffs continue to maintain that their pre-appeal motions in Berman did not address different
25   claims and were filed with prior notice to the Court. Plaintiffs first moved for partial summary
     judgment in Berman on both claims for relief, and the Court granted judgment on Plaintiffs’ denial of
26   benefits claim and granted judgment as to liability on their breach of fiduciary duty claim. Then, after
     Plaintiffs’ counsel discussed with Defendants’ counsel how to resolve the remaining remedy issues
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     and informed the Court of their intention, Plaintiffs filed a subsequent motion for summary judgment
28   seeking interest and surcharge as a remedy for the breach of fiduciary duty claim.


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 1   Strike Defendants’ Second Motion for Partial Summary Judgment or in the Alternative to Stay

 2   Briefing before Defendants had responded to Plaintiffs’ meet and confer voicemails and email sent

 3   earlier that afternoon2 (Dkt. 172);

 4           WHEREAS, the parties conferred the following Monday after an exchange of emails over the

 5   weekend, and reached an agreement in principle to file a Stipulated Request and Proposed Order

 6   regarding Summary Judgment Motions and Case Schedules, under which Plaintiffs would withdraw

 7   their “Motion for Administrative Relief” and the parties would request the Court stay further briefing

 8   and hearing on Defendants’ December 9, 2021 motions in both cases and would request a modification

 9   of the Scheduling Order to vacate the currently pending dates in both cases, and then, after the Court

10   resolved the parties’ submitted cross-motions for partial summary judgment in Berman, the parties

11   would meet and confer to propose a schedule for filing and briefing dispositive motions as to any

12   remaining issues in Berman and Schuman;

13           WHEREAS, on December 13, 2021, while the parties were exchanging drafts of the Stipulated

14   Request and Proposed Order regarding Summary Judgment Motions and Case Schedules in both cases,

15   the Court in Berman granted Plaintiffs’ Administrative Motion to Strike Defendants’ Second Motion

16   for Partial Summary Judgment or in the Alternative to Stay Briefing (Dkt. 173);

17           WHEREAS, the parties have been in discussions regarding possible mediation, which are still

18   ongoing;

19           WHEREAS, the parties have met and conferred regarding the pending summary judgment

20   motions and case schedules in these two related cases and have agreed that the most efficient way to

21   proceed, subject to the Court’s approval, is: (1) for the Court to vacate the deadlines set forth in the

22   Amended Scheduling Order in these cases (Berman Dkt. 140; Schuman Dkt. 157) and to stay further

23   briefing or proceedings on Defendants’ December 9, 2021 summary judgment motion in Schuman

24   until after it decides the parties’ pending cross-motions for summary judgment in Berman (Dkts. 145,

25   163, 165, 166); and (2) for the parties to meet and confer promptly after the Court rules on the cross-

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         2
             Defendants contend they did not have the opportunity to meet and confer prior to the filing as
27
     they were in the process of researching and drafting a written response to the unexpected two
28   voicemails (left 2.5 hours before the filing) and one email (sent 2 hours before the filing), which they
     still sent shortly after the filing.
                                                             3
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 1   motions in Berman, and to propose to the Court a new briefing schedule: (a) in Berman, to the extent

 2   any issues remain to be decided that can be resolved by further motions for summary judgment, which

 3   the parties have agreed not to oppose as improperly successive; and (b) in Schuman, with the parties

 4   either filing new cross-motions for summary judgment or, if Defendants choose to stand on their

 5   December 9, 2021 motion (Dkt. 163), for the filing of plaintiffs’ opposition and cross-motion and the

 6   parties’ subsequent reply and opposition briefs.

 7          THEREFORE, the parties stipulate and request the Court to order as follows, based on the

 8   good cause described above:

 9          1.      Defendants’ Motion for Summary Judgment in Schuman (Dkt. 163) is taken off

10                  calendar. All further summary judgment motions and briefing in Berman and Schuman

11                  are stayed until after the Court resolves the cross-motions in Berman that are currently

12                  under submission (Dkts. 145, 163, 165, 166);

13          2.      All deadlines in the Amended Scheduling Order in Berman and Schuman (Berman Dkt.

14                  140; Schuman Dkt. 157) are vacated; and

15          3.      Within 14 days after the Court resolves the currently pending cross-motions for

16                  summary judgment in Berman, the parties shall meet and confer and propose a case

17                  schedule for such further proceedings, including a schedule for briefing dispositive

18                  motions in both cases based on any issues that may remain in both cases after the

19                  Court’s decision on the pending cross-motions for summary judgment in Berman.

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 1   Dated: December 16, 2021                        Respectfully submitted,

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      Stip. Re: Summ. Judg. Mots. and Case Schedules and [Proposed] Order, Nos. 4:17-cv-1864-HSG, 4:16-cv-5544-HSG
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 1                                            [PROPOSED] ORDER

 2   Pursuant to the parties’ stipulation, it is SO ORDERED.

 3          1.      Defendants’ Motion for Summary Judgment in Schuman (Dkt. 163) is taken off
 4                  calendar. All further summary judgment motions and briefing in Berman and Schuman
 5                  are stayed until further order of this Court.
 6          2.      All deadlines in the Amended Scheduling Order in both Berman and Schuman (Berman
 7                  Dkt. 140; Schuman Dkt. 157) are vacated.
 8          3.      Within 14 days after the Court resolves the currently pending cross-motions for
 9                  summary judgment in Berman (Dkts. 145, 163, 165, 166), the parties will meet and
10                  confer and propose a case schedule for further proceedings in both cases, including
11                  dispositive motions on any issues that may remain in both cases.
12

13

14   Dated: December         , 2021
                                                     THE HONORABLE HAYWOOD S. GILLIAM, JR.
15                                                   United States District Court Judge
                                                     Northern District of California
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                                                                                                         49669266.1
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      Stip. Re: Summ. Judg. Mots. and Case Schedules and [Proposed] Order, Nos. 4:17-cv-1864-HSG, 4:16-cv-5544-HSG
